 Case 18-52051-jwc        Doc 64     Filed 01/10/19 Entered 01/10/19 16:02:39               Desc Main
                                     Document Page 1 of 3




    IT IS ORDERED as set forth below:



    Date: January 10, 2019
                                                          _________________________________

                                                                   Jeffery W. Cavender
                                                              U.S. Bankruptcy Court Judge

   ________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


       IN RE:                                         {       CHAPTER 13
       MURRAY STEPHEN KASMENN                         {       CASE NO.: 18-52051-JWC
                                                      {
               DEBTOR                                 {


                       SUPPLEMENTAL ORDER OF CONFIRMATION

       On December 18, 2018 at 1:30 p.m., Confirmation of the Debtor’s proposed plan was scheduled

for hearing before the Court. Appearances were made by counsel for the Debtor and counsel for the

Trustee. The Trustee objected to the confirmation of this case for failure of the Debtor to submit to an

Employee Deduction Order and it appears that the Debtor and the Chapter 13 Trustee have entered into

this Agreement to resolve the Trustee’s objection, IT IS

       ORDERED that the Debtor shall strictly comply with the requirements of the Chapter 13 Plan.

If during the first twelve (12) months following confirmation, Debtor fails to pay each plan payment on

a timely basis, then the Chapter 13 Trustee may, without further notice, submit a report of non-
 Case 18-52051-jwc        Doc 64     Filed 01/10/19 Entered 01/10/19 16:02:39           Desc Main
                                     Document Page 2 of 3


compliance to the Court, and the case may be dismissed without further hearing.

        The Clerk of the Court is directed to serve this Order on the parties included in the attached

distribution list.

                                      END OF DOCUMENT



PREPARED BY:                                      CONSENTED BY:

____/s/____________________                       ___/s/____________________
Julie M. Anania,                                  Shawn Eisenberg,
Attorney for Chapter 13 Trustee                   Attorney for the Debtor
GA Bar No. 477064                                 GA Bar No. 128077
303 Peachtree Center Ave., NE                     Slipakoff & Slomka, PC
Suite 120                                         Overlook III - Suite 1700
Atlanta, GA 30303                                 2859 Paces Ferry Rd, SE
(678) 992-1201                                    Atlanta, GA 30339
                                                  Signed by Julie M. Anania
                                                  with express permission
 Case 18-52051-jwc          Doc 64   Filed 01/10/19 Entered 01/10/19 16:02:39   Desc Main
                                     Document Page 3 of 3



                                      DISTRIBUTION LIST

Case Number 18-52051-JWC

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